
710 S.E.2d 26 (2011)
STATE of North Carolina
v.
Rhonda Jean HICKS.
No. 510P10.
Supreme Court of North Carolina.
June 15, 2011.
Andrew DeSimone, Assistant Appellate Defender, for Hicks, Rhonda Jean.
Shawn C. Troxler, Assistant Attorney General, for State of N.C.
Robert C. Montgomery, Senior Deputy Attorney General, for State of N.C.
Ronald L. Moore, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 7th of December 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
